934 F.2d 318Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re Lawrence BLEVINS, Petitioner.
    No. 91-8015.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 6, 1991.Decided June 3, 1991.
    
      On Petition for Writ of Mandamus.
      Lawrence Blevins, petitioner pro se.
      DISMISSED.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Lawrence Blevins and four other inmates instituted this action, complaining about conditions at the Augusta Correctional Center.  The district court dismissed all inmates save William Glazebrook because only Glazebrook had filed an application to proceed in forma pauperis and because the court determined that Glazebrook was precluded from filing suit on behalf of other inmates.1   Blevins appealed, asking that the complaint be reinstated and that he be permitted to file an in forma pauperis application.  Following this appeal, Blevins' suit was reopened.  Accordingly, as the relief sought has been granted, we grant leave to proceed in forma pauperis and dismiss this appeal as moot.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not significantly aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        1
         The court's order, rather than stating that plaintiffs other than Glazebrook were dismissed, stated that the court recognized the complaint solely as one filed by Glazebrook.  Presumably because of that wording, Walker's appeal from that order was initially docketed in this Court as a mandamus petition
      
    
    